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                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7
 8   UNITED STATES OF AMERICA,
                                                   NOS. CR-06-2121-RHW-1
 9            Plaintiff,                                CR-06-2121-RHW-4

10            v.
                                                   ORDER MODIFYING
11   PEDRO SILVA CHIPREZ and                       CONDITIONS OF RELEASE
     SAMUEL SILVA CHIPREZ,
12            Defendants.
13
14         Before the Court is Defendant Samuel Silva Chiprez’s Motion to Modify
15 Conditions of Release (Ct. Rec. 535). Defendant asks the Court to modify his
16 conditions of release so that he may associate with his brother, Defendant Pedro
17 Silva Chiprez. U.S. Probation informs the Court that it has no objection to this
18 request. The Government has filed a response indicating that it has no objection,
19 and suggesting that the Court similarly modify Defendant Pedro Silva Chiprez’s
20 conditions of release (Ct. Rec. 537).
21         Accordingly, IT IS HEREBY ORDERED:
22         1. Defendant Samuel Silva Chiprez’s Motion to Modify Conditions of
23 Release (Ct. Rec. 535) is GRANTED.
24       2. The pretrial release conditions for Defendant Samuel Silva Chiprez (Ct.
25 Rec. 96) are amended as follows:
26              12. The defendant shall have no contact with any individuals named
27         or referred to in this indictment, either directly or indirectly, except that the
28         defendant may have contact with his brother, Defendant Pedro Silva

     ORDER MODIFYING CONDITIONS OF RELEASE* 1
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 1          Chiprez.
 2          3. The pretrial release conditions for Defendant Pedro Silva Chiprez (Ct.
 3 Rec. 86) are amended as follows:
 4                  10. The defendant shall have no contact with any individuals named
 5          or referred to in this indictment, either directly or indirectly, except that the
 6          defendant may have contact with his brother, Defendant Samuel Silva
 7          Chiprez.
 8          IT IS SO ORDERED. The District Court Executive is directed to enter this
 9 Order and to provide copies to counsel and U.S. Probation.
10          DATED this 23rd day of December, 2008.
11
12                                       s/Robert H. Whaley
                                       ROBERT H. WHALEY
13                                 Chief United States District Judge
14
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     ORDER MODIFYING CONDITIONS OF RELEASE * 2
